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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 10-80397-CIV-MARRA/JOHNSON

NICOLE C. SEROPIAN, individually,
and as parent and natural guardian of
KATHERINE ELIZABETH SEROPIAN,
a minor and SARAH LUCINE
SEROPIAN, a minor,

Plaintiffs,

 

VS.
WACHOVIA BANK, N.A.,

Defendant.
/

ORDER ON PLAINTIFFS’ MOTION TO COMPEL BETTER RESPONSES
TO SECOND REQUEST FOR ADMISSIONS

THIS CAUSE is before the Court on Plaintiffs’ Motion to Compel Better Responses
to Second Request for Admissions [DE 72]. The motion is fully briefed and ripe for review.
After carefully considering the filings of the parties and being otherwise fully advised in the
premises, the Court grants in part and denies in part Plaintiffs’ Motion.

1. Background

The instant dispute concerns certain payable-on-death certificates of deposit (“CDs”)
formerly held by Elizabeth H. Bleyer (“Bleyer’). These CDs were payable upon Bleyer’s
death to each Plaintiff; three were payable to Bleyer’s biological granddaughter, Plaintiff
Nicole C. Seropian, and the other two CDs were each payable to Bleyer’s great-
granddaughters, Plaintiffs Katherine Elizabeth Seropian and Sarah Lucine Seropian.

According to Plaintiffs, Bleyer’s stated testamentary intention was to create a vested
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interest in the named recipients; this intention was allegedly thwarted when Wachovia
breached the terms of the CDs. Specifically, Plaintiffs allege that, in December of 2008,
Wachovia wrongfully re-titled and liquidated the CDs at the urging of non-party Joan
Caruso, Bleyer’s biological daughter. Although Caruso had been granted a durable power
of attorney from Bleyer, Plaintiffs argue that under Florida Statutes Section 709.08(7)(b),
Caruso’s position as Bleyer’s attorney-in-fact did not allow Caruso to dispose of the CDs.
After Bleyer died on September 19, 2009, Plaintiffs brought suit against Defendant
Wachovia Bank, N.A. (“Wachovia”) for breach of third party beneficiary contract (Count I)
and tortious interference with expectation of inheritance (Count II).

By the instant motion, Plaintiffs seek better responses to their Second Request for
Admissions, as well as an award of attorney’s fees and costs. Plaintiffs claim that
Wachovia is improperly objecting to several requests for admissions, and giving incomplete
or evasive answers to other requests. In particular, Plaintiffs argue that they are entitled
to responses to their requests concerning the re-titling and closure of a// of Bleyer’s CDs,
not merely those payable on death to Plaintiffs. Wachovia asserts that its answers are
sufficient, and accuses Plaintiffs of propounding irrelevant requests concerning CDs that
are not in issue in this case. Wachovia also claims that Plaintiffs have served requests for
admissions that erroneously ask for conclusions of law, as opposed to opinions on facts

or the application of law to fact.

 

' Wachovia’s Motion to Dismiss Plaintiffs’ Verified Third Amended Complaint [DE
73] is currently pending before the Court. The instant Order makes no comment or
ruling on the merits of Wachovia's Motion to Dismiss.

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ll. Standard of Review

“A party may serve on any other party a written request to admit . . . the truth of any
matters within the scope of Rule 26(b)(1) relating to. . . facts, the application of law to fact,
or opinions about either.” Fed. R. Civ. P. 36(a)(1). “Rule 36 allows litigants to request
admissions as to a broad range of matters, including ultimate facts.” In re Carney, 258 F.3d
415, 419 (5th Cir. 2001).? These admissions “facilitate proof at trials by obviating the need
to adduce testimony or documents as to matters that are really not in controversy.” United
States v. Petroff-Kline, 557 F.3d 285, 293 (6th Cir. 2009). In order to fairly respond to a
request for admissions, a party must either admit the matter, specifically deny it in whole
or in part, or state in detail why it cannot reasonably respond to the request. See F.D.1.C.
v. Halpern, 271 F.R.D. 191, 196 (D. Nev. 2010) (compelling supplemental responses to
request for admissions because party refused to admit, deny, or object to the requests).

Since Rule 36 admissions are designed to narrow the scope of issues to be litigated,
“federal courts express their concern when they breed additional litigation because one
party is dissatisfied with the answer of the other.” National Semiconductor Corp. v.
Ramtron Intern. Corp., 265 F. Supp. 2d 71, 74 (D.D.C. 2003). Despite these efficiency
concerns, a requesting party is permitted to move a court to determine the sufficiency of
an answer or objection to a request for admission. Fed. R. Civ. P. 36(a)(6). “When a party
moves for a judicial determination of the sufficiency of the answers and whether any
objections were justifiable, the Court considers whether any of the qualifications were

made in good faith.” Tequila Centinela, S.A. de C.V. v. Bacardi & Co. Ltd., 242 F.R.D. 1,

 

? The language of Rule 36 was amended in 2007 as part of the general restyling
of the Civil Rules. The changes were intended to be stylistic only.

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14 (D.D.C. 2007). When examining the answers, courts also consider the propriety of the
original request to admit, in order to prevent one side from using “the rule to harass the
other side.” Perez v. Miami-Dade County, 297 F.3d 1255, 1269 (11th Cir. 2002).
lll. Discussion

Pursuant to Federal Rule of Civil Procedure 36(a)(6), Plaintiffs are challenging the
sufficiency of a number of Wachovia’s responses to the Second Request for Admissions.
The Court addresses each of Plaintiffs’ arguments in turn:°

A. Request for Admission No. 4

Plaintiffs’ Request for Admission No. 4 asked Wachovia to admit that it relied on the
June 10, 2004 durable power of attorney in liquidating and closing Bleyer’s accounts at
Wachovia on December 5, 2008. In response, Wachovia referred to its previous denial of
Request No. 8 in Plaintiffs’ First Request for Admissions, which was an identical request
for Wachovia to admit that it relied on the June 10, 2004 durable power-of-attorney.
Plaintiffs argue that they are entitled to a direct response to Request No. 4, not a referral
to another response to a previously served request.

Because the positions of the parties may change as information is uncovered during

the course of litigation, it is generally permissible to ask an opposing party to admit a

 

3 As a threshold matter, Wachovia argues that the instant motion is untimely and
otherwise fails to comply with the formal requirements of the Local Rules. See S.D. Fla.
L.R. 26.1(h) (requiring discovery motions to be filed “within thirty (30) days of the
occurrence of grounds for the motion” and requiring them to restate the discovery
request and the opposing party’s objection). The Court rejects both arguments. First,
Plaintiffs did not receive Wachovia's responses until December 15, 2010; the instant
motion was timely filed twenty-eight days later on January 12, 2011. Second, the Court
finds that the instant motion substantially complies with the formal requirements of
Local Rule 26.1(h)(2), as it sufficiently organizes and segregates the disputed requests.

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matter that was previously denied, so long as these requests do not cross the line into
harassment. Cf. Perez, 297 F.3d at 1268-69 (parties may not “re-serve the complaint in the
form of a request for admissions”). The Court finds that the matter referenced in Request
No. 4 is relevant and material; if Wachovia continues to deny that it relied on the June 10,
2004 durable power of attorney, it should do so directly for the sake of efficiency, without
forcing Plaintiffs to engage in document acrobatics.

B. Admissions Regarding CDs Not Payable to Plaintiffs

Much of the Second Request for Admissions concerns deposit accounts held by
Bleyer that were not payable on death to Plaintiffs. These accounts were either payable
on death to other family members, or were not payable on death to anyone.* Despite this,
Plaintiffs claim that Wachovia is obligated to answer these requests. Plaintiffs argue that
information about the closure of Bleyer’s CDs is relevant and probative of Wachovia's
reliance on Caruso’s durable power of attorney, Wachovia's compliance with Florida
Statutes Section 709.08(7)(b), and Wachovia’s compliance with its own internal policies
and regulations.

In response, Wachovia contends that these CDs are not at issue in this lawsuit
because Plaintiffs were not the payable on death beneficiaries. Wachovia also notes that
Plaintiffs have propounded identical requests for admissions concerning the CDs that were
payable on death to Plaintiffs. For these reasons, Wachovia argues that the requests are

improper and outside the bounds of Rule 36.

 

“ CD XX6403 was payable to Michael Caruso (Request for Admission Nos. 8-
13), CDXX1255 was payable to Joe Teague Caruso, Jr (Request Nos. 48-54),
CDXX5962 was payable to Joe Teague Caruso, Jr or Cara Grace Caruso (Request
Nos. 41-47), and CDXX0807 was held in Bleyer’s name alone (Request Nos. 22-26).

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The Court disagrees, and finds that the requests for admissions regarding CDs not
payable on death to Plaintiffs are valid and must be answered. Wachovia is correct that
requests for admissions about issues beyond the scope of the case are improper and need
not be answered. See Tequila, 242 F.R.D. at 13 (denying motion to compel, as information
sought in request for admission was not relevant to the matters before the court). At the
same time, however, requests for admissions may inquire about “any matters within the
scope of Rule 26(b)(1),” and the scope of Rule 26 is broad. See Oppenheimer Fund, Inc.
v. Sanders, 437 U.S. 340, 351 (1978) (relevance is “construed broadly to encompass any
matter that bears on, or that reasonably could lead to other matters that could bear on, any
issue that is or may be in the case”).

In this case, Plaintiffs have alleged that a// of Bleyer’s accounts at Wachovia were
improperly liquidated or re-titted in one transaction by Bleyer’s attorney-in-fact, Joan
Caruso. Plaintiffs claim that Joan Caruso was allowed to leave Wachovia Bank with an
official draft exceeding $332,000.00, an amount encompassing all of Bleyer's CDs and
Bleyer’s money market account. According to Plaintiffs, both the CDs payable to Plaintiffs
and the CDs not payable to Plaintiffs were re-titled and withdrawn in the same occurrence.
Plaintiffs have claimed that Wachovia has internal policies and procedures that direct
employees to contact a principle in order to ensure an attorney-in-fact is not engaging in
self-dealing. Admissions regarding the other CDs may clarify whether these policies were
followed with regard to Plaintiffs’ CDs, thus narrowing the scope of issues for trial. Because
of this nexus, the fact that Plaintiffs have no legal claim to the other CDs does not put them
outside the scope of Rule 36(a)(1). The Court therefore holds that the requests for
admissions regarding Bleyer’s CDs that were not payable to Plaintiffs are relevant, and

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orders Wachovia to serve answers to Plaintiffs’ Second Request for Admissions on these
matters.

C. Wachovia’s Narrative Partial Admission

In its response to Plaintiffs’ Request for Admission No. 16, which requested
Wachovia to admit that it re-titted CDXX6404 from “Betty H. Bleyer/Pay-On-Death Nicole
Seropian” to “Betty H. Bleyer/Pay-On-Death Joe Caruso,” Wachovia admitted to the re-
titling in part, and then proceeded to deliver a lengthy narrative explaining its version of the
events in this case.° In Wachovia’s responses to Plaintiffs’ Request Nos. 18, 56-59, 61-62,
64-69, and 74-75, which were all centered around the re-titling and liquidation of CDs in
December 2008, Wachovia referred to its narrative partial admission to Request No. 16.
Plaintiffs argue that Wachovia’s narrative admission is evasive, incomplete, and does not
fairly meet or respond to their requests for admissions. The Court disagrees.

Under Rule 36(a)(4), “when good faith requires that a party qualify an answer . . .
the answer must specify the part admitted and qualify or deny the rest.” Such a
qualification must not be unduly convoluted or argumentative, and it must adequately

communicate which parts of the request are being admitted to. See Synventive Molding

Solutions, Inc. v. Husky Injection Molding Systems, Inc., 262 F.R.D. 365, 374 (D. Vt., 2009)

 

* According to Wachovia, when Caruso attempted to make beneficiary changes
in Bleyer’s accounts in November 2008 using her original June 2004 power of attorney,
she was rejected. A month later, Caruso appeared with a new power of attorney,
notarized on November 28, 2008, that specifically included the authority to “change,
delete, or add beneficiaries or payable on death beneficiaries.” Wachovia requested a
letter from Bleyer outlining the changes in the CD beneficiaries, and then started
“processing” the changes after receiving a letter purportedly from Bleyer. When
Wachovia requested an additional notarized letter from Bleyer, Caruso elected to
withdraw all sums from Bleyer’s accounts
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(compelling additional responses because opposing party's qualifications to its answer
were incomprehensible). Moreover, “an evasive denial, one that does not ‘specifically deny
the matter,’ or a response that does not set forth ‘in detail’ the reasons why the answering

party cannot truthfully admit or deny the matter, may be deemed an admission.” Asea, Inc.

 

v. Southern Pac. Transp. Co., 669 F.2d 1242, 1245 (9th Cir. 1981).

In this case, however, Wachovia has elected to partially admit to re-titling and
liquidating the accounts, and has provided specific details regarding what purportedly
happened to the CDs. Rather than sidestepping or evading Plaintiffs’ requests for
admissions, Wachovia's narrative admission adequately outlines its position on when and
how the CDs were re-titled and liquidated during December 2008. The details Wachovia
has supplied fairly respond to Plaintiffs’ Request Nos. 18, 56-59, 61-62, 64-69, and 74-75.
Since Wachovia's partial admission comports with both the text and purpose of Rule 36,
the Court denies Plaintiffs’ Motion to Compel with respect to these requests.

D. Requests for Admissions on Mixed Questions of Law and Fact

Plaintiffs next move to compel Wachovia to answer Request Nos. 37, 38, 39, and
40. Request Nos. 37, 38, and 39 ask Wachovia to admit that it was obligated to comply
with Florida Statutes Section 709.08 when dealing with Caruso’s durable powers of
attorney and Bleyer’s CDs. Request No. 40 asks Wachovia to admit that the CDs were
“Pay-On-Death Accounts” within the meaning of Florida Statutes Section 655.82.
Wachovia objects to these requests on the basis that they call for legal conclusions, and
relies on In re Olympia Holding Corp., 189 B.R. 846, 853 (Bkrtcy. M.D. Fla. 1995) for the
proposition that neither conclusions of law nor central facts in dispute can be the subject

of requests for admissions.
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For a number of reasons, the Court disagrees with Wachovia, and finds that
Plaintiffs’ requests are appropriate. First, the Court finds In re Olympia unpersuasive, as
it relies on cases decided prior to the 1970 amendments to Rule 36. These amendments
eliminated the requirement that requests for admissions be made on matters “of fact;” in
the current text of Rule 36(a)(1)(A), requests for admissions may be served on any matters
relating to “facts, the application of law to fact, or opinions about either.” There is no
limitation placed on requesting a party to admit or deny a central fact in dispute, and, in
view of the purpose of Rule 36, an admission or denial of such a fact may considerably
expedite litigation.

Second, the Court holds that Plaintiffs’ requests do not call for naked conclusions
of law. Instead, the requests merely ask for Wachovia's opinion on the application of law
to the particular facts of this case. For instance, in Request No. 40, Wachovia was asked
whether, in its opinion, Bleyer’s CDs were statutory “Pay-On-Death Accounts;” Wachovia
is free to admit or deny this legal position in whole or in part based on how it interprets the
characteristics of Bleyer's CDs, and Plaintiffs are entitled to know Wachovia's position.
This kind of back-and-forth communication helps to narrow and simplify the issues that are
actually in dispute, and Rule 36 requires an answer. Accordingly, Wachovia is ordered to
serve answers to Plaintiffs’ Request Nos. 37 through 40.

IV. Conclusion

For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that Plaintiffs’

Motion to Compel Better Responses to Second Request for Admissions [DE 72] is

GRANTED IN PART AND DENIED IN PART. Because the Court has not found that
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Wachovia is in violation of any existing orders, no sanctions or attorneys’ fees are
warranted in this case. To the extent the Court has ordered amended answers to be
served, Wachovia shall provide more responsive answers within fourteen (14) days in
accordance with the terms and conditions set forth herein.

DONE AND ORDERED in Chambers this 17" day of February, 2011 at West Palm

Lintflea R. Johnson
United States Magist Judge

Beach, Florida.

cc The Honorable Kenneth A. Marra
All Counsel of Record

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